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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                         CRIMINAL FILE NO.
        v.                               1:11-CR-255-1-TWT
 QUENTIN BOOKER, et al.,

   Defendants.


                                     ORDER

      This is a criminal   action.   It is before the Court on the Report and

Recommendation [Doc. 488] of the Magistrate Judge recommending denying the

Defendant Dooley’s Motion to Suppress Statements [Doc. 203].        The Court

approves and adopts the Report and Recommendation as the judgment of the Court.

The Defendant Dooley’s Motion to Suppress Statements [Doc. 203] is DENIED.

      SO ORDERED, this 13 day of June, 2013.



                              /s/Thomas W. Thrash
                              THOMAS W. THRASH, JR.
                              United States District Judge
